                               UNITED
           Case 3:19-mj-01015-BT      STATES
                                 Document    DISTRICT
                                          9 Filed        COURT
                                                  11/12/19 Page 1 of 1 PageID 14
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

         UNITED STATES OF AMEzuCA                            $
                                                             $
                                                             $      Case       No. 3:19-mj-01015-BT
                                                             $
         DAVrD CADENA (1)                                    $


                                          WAIVER OF DETENTION HEARING



        I understand that I have been charged with an offense in a criminal complaint or an indictment filed in this
court, or charged with violating the terms of probation or supervised release in a petition filed in this court' A
magistrate judge has informed me of my right to a detention hearing.

       I agree to waive my right to a detention hearing

               without reservation.

               but reserve my right to ask for a hearing if I am released from state custody while this case is
               pending.


                but reserve my right to ask for a hearing if I am able to obtain a bond from ICE while this case is
                pending.


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